1. In this suit, by an administratrix residing in Spalding County, for the writ of mandamus to compel the ordinary of Butts County to pass an order in accordance with the Code, § 113-1901, transferring the administration to the ordinary of the county in which the petitioner resided, the allegations were sufficient as against a general demurrer to show that the petitioner had previously "filed" with the defendant ordinary a certificate under the seal of the ordinary of the other county, in conformity with sub-paragraph 3 of the above-stated section.
2. The fact that the ordinary of Spalding County had as a practicing attorney represented the present plaintiff in her application as an individual for appointment as administratrix in Butts County, did not disqualify him as ordinary to approve the new bond and to issue the certificate necessary in transferring the administration, since these acts were not in the same cause or matter in which he had been of counsel.
3. The fact that it appeared from an exhibit that the new bond as executed in Spalding County was not accompanied by a power of attorney showing authority of the person who signed it as "attorney" in behalf of the surety company, did not make the petition subject to general demurrer, it being alleged that the bond had been approved by the ordinary of that county, and that the plaintiff had complied with all the requirements of the law in such case.
4. Nor are the provisions of the above-stated section limited to administrators who change residence after appointment. Even though an administrator may at the time of his appointment reside in a different county from that in which he is appointed, he may nevertheless have the trust removed to the county of his residence, on complying with such statute.
5. The mere pendency of a citation for settlement against the administrator in the court of ordinary of original jurisdiction, did not prevent transfer of the administration under the Code, § 113-1901. *Page 501 
6. The petition was not defective as failing to show pecuniary loss for which the plaintiff could not be compensated in damages.
7. In view of recitals in the bill of exceptions and the judge's certificate, there is no merit in the contention that the judge erred in granting a mandamus absolute after overruling the demurrer, without considering the answer, and without further hearing.
      No. 14734. FEBRUARY 10, 1944. REHEARING DENIED MARCH 10, 20, 1944.
On May 5, 1943, Quincey B. Waldrup, a resident of Spalding County, as administratrix de bonis non of the estate of Mrs. Emma B. Maddox, deceased, presented to the judge of the superior court of Butts County a petition against G. D. Head as ordinary and ex-officio clerk of the court of ordinary of Butts County, for a mandamus absolute to compel him to enter an order transferring the proceedings in connection with the administration of the estate of said Mrs. Maddox from the court of ordinary of Butts County to the court of ordinary of Spalding County. The petition was sanctioned, and a mandamus nisi was issued. The respondent filed a general demurrer to the petition, and an answer denying the material allegations. On June 26, 1943, after argument on the demurrer by counsel for both sides, leave was granted the plaintiff to amend her petition. On August 16, 1943, an amendment to the petition was allowed, a copy thereof having been received by the respondent's counsel on August 13. No objection was made to the allowance of this amendment. On September 4, 1943, the judge, on the pleadings and without further hearing, entered a judgment overruling the demurrer and granting a mandamus absolute as prayed. The respondent excepted.
The original petition contained among other averments the following: On April 21, 1943, counsel for petitioner, by letter addressed to the ordinary of Butts County, requested certified copies of all the proceedings in the matter of the estate of said Mrs. Maddox, as provided by the Code, § 113-1901, and stated that on account of the inconvenience and shortage of gasoline, petitioner desired to remove the administration of said estate to Spalding County, the home of petitioner. In response to this communication, the court of ordinary of Butts County furnished to petitioner certified copies of the proceedings in said case as appeared in said court of ordinary; these certified copies were filed in the court of *Page 502 
ordinary of Spalding County on April 16, 1943; and on that date they were recorded on the minutes of said court of ordinary. On April 27, 1943, petitioner executed a new bond with good security for the discharge of her duties as said administratrix, payable to the ordinary of Spalding County, for the sum of $14,000, and the same was approved and filed on the same date in said court of ordinary. A copy of the petition to the court of ordinary of Spalding County, with certified copies of the copies filed in the court of ordinary of Spalding County from the records of the court of ordinary of Butts County, together with the administrator's bond filed with the court of ordinary of Spalding County, were attached as exhibits. On April 27, 1943, the court of ordinary of Spalding County issued a certificate certifying that the provisions of the Code, § 113-1901, had been complied with, a copy of said certificate being attached. "On April 27, 1943, counsel for petitioner forwarded through United States mail the certificate hereinbefore referred to, issued by the court of ordinary of Spalding County . . to Hon. G. D. Head, ordinary of Butts County, . . and requested that he enter an order transferring the proceedings in the administration of the estate of Mrs. Emma B. Maddox to Spalding County, . . as provided for in Code section 113-1901. A copy of the letter of counsel for petitioner to said ordinary is hereto attached, marked `Exhibit D' and made a part of this petition. Petitioner further shows that she has complied with all the requirements necessary to transfer the proceedings in connection with the administration of the estate of Mrs. Emma B. Maddox from the court of ordinary of Butts County to the court of ordinary of Spalding County. Petitioner has no specific legal remedy for her legal rights in the premises."
In the copy of the certificate of the ordinary of Butts County, as attached to the petition, it was stated: "This is to certify that the said Quincey B. Waldrup as administratrix de bonis non of the estate of Mrs. Emma B. Maddox, deceased, has given a new bond payable to the ordinary of Spalding County, Georgia, with good security, for the discharge of her duties as administratrix aforesaid, in the sum of fourteen thousand dollars as provided by Code Section 113-1901 (2)." A copy of the bond as attached bore entry: "Approved and ordered filed and recorded, this 27th day of April, 1943. S. B. Wallace, Ordinary Spalding County, Georgia." *Page 503 
The bond was executed as a sealed instrument, and was signed by Quincey B. Waldrup as principal, and by "Glens Falls Indemnity Co. by R. B. McDaniel, Attorney," as surety. No power of attorney or other writing was attached showing the authority of McDaniel.
In paragraph 2 of the amendment, it was alleged that Exhibit D of the original petition was "filed and so marked in the office of the court of ordinary of Butts County . . on April 28, 1943;" this exhibit as shown in original petition being copy of letter of April 27, 1943, from the plaintiff's attorney to the respondent and containing certificate of the ordinary of Spalding County. In paragraph 3 of the amendment, it was shown that after further proceedings in Spalding County, the ordinary of that county, on June 18, 1943, "executed a certificate setting out that the terms of the statute providing for the transferring of the administration of an estate to the county of the residence of the administrator had been complied with," and that this certificate and other documents "were filed in the office of the court of ordinary of Butts County, Georgia, on the 18th day of June, 1943." A copy of such second certificate contained substantially the same statement as to the new bond as appeared in the first certificate. In paragraph 4 of the amendment, it was alleged: "Upon the filing of the instruments as set out in paragraph 3 above on June 18, 1943, the ordinary of Butts County then and there failed and refused to enter an order transferring the administration of said estate to Spalding County, or to enter any order relieving the bondsmen of petitioner in the court of ordinary of Butts County."
The Code, § 113-1901, declares: "Whenever, from any change of residence, or other cause, an administrator or executor may desire to remove the jurisdiction of his trust from the court of ordinary of the county of the residence of testator or intestate to that of his own residence, the same may be done by complying with the following requisitions: 1. By obtaining a copy of all the records of the ordinary relative to his trust, and causing the same to be recorded by the ordinary of the county of his residence. 2. By giving to the ordinary of his county new bond, with good security, for the discharge of his duty as administrator, *Page 504 
in the same manner as if the administration were originally granted there. 3. By filing with the ordinary of the county having original jurisdiction a certificate, under the seal of the ordinary of the county to which the trust is to be removed, that the foregoing provisions have been complied with. 4. The ordinary having jurisdiction shall then pass an order transferring the trust to the ordinary of the other county. 5. Upon compliance with the provisions of this section the whole of said trust is thereby removed from the one county to the other so that every question growing out of or affecting said trust shall be heard and tried only in that county to which said trust has been removed."
1. It is contended by counsel for the plaintiff in error, respondent in the trial court, that the petition for mandamus fails to show that the petitioner "filed with the court of ordinary having original jurisdiction" the certificate of the other ordinary, as required by § 113-1901 (3). There is no merit in this contention, as paragraph 2 of the plaintiff's amendment alleged that a letter to the respondent from the plaintiff's attorneys containing such certificate was "filed and so marked in the office of the court of ordinary of Butts County, Georgia, on April 28, 1943." While the amendment refers to an exhibit, which was only a copy of the letter, stating that this exhibit had been filed, the obvious meaning is that the letter itself had been filed, and with it the certificate that it contained. But it also appeared that a second certificate was issued, and in paragraph 3 of the amendment, it was alleged that such second certificate was filed.
2. The next reason urged why the demurrer to the petition for mandamus should have been sustained, is that the proceedings before S. B. Wallace, the ordinary of Spalding County, were nugatory, because the record, which contains copies of the pleadings in the court of ordinary of Butts County, shows that he had been "of counsel" for the petitioner, Quincey B. Waldrup, continuously up to the beginning of the instant proceeding. It is insisted that Wallace was disqualified as ordinary, and could "pass no valid order approving his client's bond, and could issue no valid certificate or order to the ordinary of Butts County requiring the removal of all jurisdiction of this trust to a court over which the former counsel will preside as judge."
There is no merit in this contention. The relevant provision of *Page 505 
law is, that no judge shall preside or act "in any case or matter" in which he has been of counsel, without the consent of the parties. Code, § 24-102. It appears from the record that Mr. Wallace represented Quincey B. Waldrup in her application for appointment as administratrix de bonis non in Butts County; that her application was litigated, but finally terminated in her favor. See Bailey v. Waldrup, 69 Ga. App. 204
(24 S.E.2d 821). After her qualification as administratrix in that county, she undertook to remove the administration to Spalding County. To accomplish such removal, it was necessary, among other things, that she give to the ordinary of the latter county a new bond with good security. Although Wallace as such ordinary may have acted in his judicial capacity in approving the new bond, this was not the same case or matter in which he had been "of counsel," and therefore he was not disqualified to act in such matter. He had represented the petitioner only in her individual capacity, when she was seeking appointment as administratrix, while in the proceeding for removal she was acting as administratrix, and in a different case or matter. It does not appear that Wallace ever represented her in any matter touching her trust as administratrix, and he was not disqualified merely because she was his former client. Compare Conyers v. Ford,111 Ga. 754 (36 S.E. 947); Moore v. Dugas, 166 Ga. 493
(4 a) (143 S.E. 591).
For similar reason, he was not disqualified to make the certificate required by § 113-1901 (3), for this was likewise a different case or matter from that in which he had been of counsel. In this view, we need not determine whether the act of making such certificate was judicial or ministerial; nor do we decide whether the attack here made is a collateral attack or whether such an attack would be sustainable in any event. As to ministerial acts, see Thompson v. Wilson, 55 Ga. 607;Walden v. County of Lee, 60 Ga. 296; Thornton v.Ferguson, 133 Ga. 825 (67 S.E. 97); Waldrup v. Chandler,155 Ga. 829 (3 a), 832 (118 S.E. 745); Head v. Waldrup,193 Ga. 165 (2) (17 S.E.2d 585). As to a collateral attack, see Echols v. Barrett, 6 Ga. 443 (2); Burnside v.Terry, 45 Ga. 622 (3); Wood v. Clarke, 188 Ga. 697
(4 S.E.2d 659, 124 A.L.R. 1077). The present case differs on its facts from Murray County v. Pickering, 195 Ga. 182
(23 S.E.2d 436), and from other cases there cited, where it appeared that the judge had been of counsel in the same cause or matter. *Page 506 
3. It is insisted next that the demurrer should have been sustained, for the reason that the bond given in Spalding County was void, in that it was not accompanied by any power of attorney authorizing the person who signed it in behalf of the surety company so to do. To support this contention, counsel cites the case of Maddox v. Waldrop, 60 Ga. App. 702
(4 S.E.2d 684), relating to an appeal bond. In that case, reference was made to Southern Express Co. v. Wheeler, 72 Ga. 210 (3), and Harwell v. Marshall, 125 Ga. 451 (2) (54 S.E. 93), relating to certiorari bonds, and holding that the authority of an agent or attorney in fact to execute such a bond must expressly appear. See also Foley v. Bell, 4 Ga. App. 447
(2) (61 S.E. 856); Anderson v. Southern Railway Co., 9 Ga. App. 199
(70 S.E. 983); Seaboard Air-line Railway Co. v.Rosenbusch, 12 Ga. App. 154 (76 S.E. 1041). The record here presents a materially different situation, and we do not think decisions like those just referred to are applicable. The Code, § 113-1217, provides that "every administrator, upon his qualification, shall give bond, with good and sufficient security, to be judged of by the ordinary, in a sum equal to double the amount of the estate to be administered; such bond shall be payable to the ordinary for the benefit of all concerned." § 113-1901 (2), provides that an administrator in removing administration to the county of his residence shall give "to the ordinary of his county new bond, with good security, for the discharge of his duty as administrator, in the same manner as if the administration were originally granted there." Accordingly in this case, the ordinary of Spalding County was the proper officer to approve the new bond, and he did approve it. Not only this, but the plaintiff alleged that she had "complied with all of the requirements necessary to transfer the proceedings in connection with the administration of the estate of Mrs. Emma B. Maddox from the court of ordinary in Butts County to court of ordinary of Spalding County."
In these circumstances, the petition was not subject to general demurrer because no power of attorney was shown. Such an instrument may be in existence, and for aught that appears it may have been physically exhibited to the ordinary of Spalding County Compare Crumm v. Allen, 11 Ga. App. 203 (75 S.E. 108). If such a power of attorney does exist, the bond is not void, and the *Page 507 
question as to its validity is a mere matter of proof. Therefore as to this point, the allegations were sufficient to withstand the general demurrer. Code, § 4-105; Johnson v. Johnson,184 Ga. 783 (2) (193 S.E. 345, 114 A.L.R. 657); MassachusettsBonding  Insurance Co. v. United States Conservation Co.,29 Ga. App. 80 (4) (114 S.E. 62); Cooke v. Seligman, 7 Fed. 263; Brady v. J. B. McCrary Co., 244 Fed. 602; Mutual Life Insurance Co. v. Langley 145 Fed. 415; 54 C. J. 326, § 245.
If, as a matter of fact, no such authority exists, persons interested in the estate are not remediless. See the Code, §§ 113-1224 1226.
4. It is further insisted that the Code, § 113-1901, was designed to apply only to cases where administrators change residence after appointment; and that the legislature did not intend to give an added advantage to a stranger from a foreign county, so that he could, as a matter of law, go into the county where the deceased resided, and after thus obtaining his appointment, transfer the entire administration to a county where none of the property of the estate is located and where the deceased had been a stranger.
By section 2 of an act approved December 10, 1812, it was provided: "Any . . administrators . . whose residence shall be changed from one county to another, either by the creation of a new county removal, or otherwise, shall have the privilege of making the annual returns required of them by this act, to the court of ordinary of the county in which they reside, by having previously obtained a copy of all the records concerning the estates for which they are bound . . and having had the same recorded in the proper office in the county in which they then reside, and having given new bond and security as the law directs, for the performance of them duty." Ga. L. 1812, p. 86; Cobb's Digest, 318.
By an act approved February 22, 1850, it was provided: "Sec. 1 Be it enacted, That the provisions of the second section of the act of 1812, just quoted, "which authorizes . . administrators . . whose residences may be changed, to make returns to the court of ordinary of the county of their residence, on complying with certain prerequisites, shall be applicable to, and may be availed of, by any . . administrator . . who may at the time of his appointment and qualification, reside in a different county from that in which letters . . of administration . . *Page 508 
may be granted. . . Sec. II. Any such . . administrator . . availing himself of the provisions of this act, or of the said recited section, shall be liable to the same proceedings in the court of ordinary to which his returns may be made, as if he had been appointed and qualified in said court, and shall be dismissed from the trust in and by said court, upon his complying with the terms of the law, in relation to letters dismissory." Ga. L. 1850, p. 39; Cobb's Digest, 339.
The law as embodied in the Code, § 113-1901, supra, provides that the jurisdiction may be removed "whenever, from any change of residence, or other cause," an administrator may desire such change. This provision was evidently based upon the acts of 1812 and 1850, from which we have just quoted. In view of its background, we are of the opinion that it would include an administrator who "at the time of his appointment and qualification" resided "in a different county from that in which" his letters of administration were granted, as stated in the act of 1850, and that it is not subject to the construction insisted on by counsel. See also Justices of Inferior Court v. Selman,6 Ga. 432 (3).
5. The defendant contends also that "it was error to overrule the demurrer to the petition as amended for the reason that the exhibits attached to the petition show that `citation for settlement was pending at the time of such proposed removal in the court of ordinary' of Butts County," and as to this point, § 113-1903 is cited.
As we have seen, § 113-1901 authorizes an administrator to remove "the jurisdiction of his trust from the court of ordinary of the county of the residence of . . intestate to that of his own residence," and subsection 5 provides: "Upon compliance with the provisions of this section the whole of said trust is thereby removed from the one county to the other so that every question growing out of or affecting said trust shall be heard and tried only in the county to which said trust has been removed." This latter provision is a codification from the act of March 5, 1856, providing that by such removal, "the whole of said trust is thereby removed from the one county to the other so that all and every question growing out of or affecting said trust, whether by caveat to the probate of the will, or granting letters dismissory, or any other matter or thing pertaining to said trust shall be heard and tried *Page 509 
only in that county to which said trust has been removed." Ga. L. 1855-6, p. 152. § 113-1902 provides for removal of a pending "suit" against an administrator or executor for settlement, upon compliance with stated requirements, without removing the entire administration or trust. § 113-1903, cited by counsel, is as follows: "The provisions of the preceding section [113-1902] shall apply only to cases where neither the parties plaintiff nor defendant were residents of the county where the citation was originally issued at the time the suit was brought or application for removal is made. The provisions of the preceding section shall not apply to cases in which citations for settlement against such executors or administrators are pending at the time of such proposed removal in the court of ordinary, without the consent of all the parties at interest." The section just quoted refers in terms only to proceedings to remove a "suit" against an executor or administrator, and does not limit or qualify § 113-1901, which provides for removal of the entire trust, and under which the petitioner for mandamus in the instant case was acting. After removal under § 113-1901, "every question growing out of or affecting said trust shall be heard and tried only in that county to which said trust has been removed." Construing this provision in the light of its source, to wit, the act of 1856, supra, we are of the opinion that the mere pendency of a citation for settlement in the court of ordinary of original jurisdiction would not prevent a transfer of the administration to the other county.
6. It is further urged that the demurrer should have been sustained because the petition sought to enforce a private right, and did not show pecuniary loss for which the petitioner could not be compensated in damages.
It is declared in the Code, § 64-105, that "in order for plaintiff to enforce a private right by mandamus he must show pecuniary loss for which he can not be compensated in damages." This provision is not of statutory origin, but is a mere codification of a common-law principle, to which reference had been made in decisions by this court. Atlantic Ice and CoalCorporation v. Decatur, 154 Ga. 882 (1) (115 S.E. 912);Board of Commissioners of Manchester v. Montgomery, 170 Ga. 361
(2) (153 S.E. 34). Although the Code of 1933 was the first Code that contained the identical language, the principle had been embodied in each previous *Page 510 
Code, being within the provision that "the writ of mandamus may be used to compel due performance, if there shall be no other specific remedy for the legal rights." See Code of 1863, § 3130, Code of 1933, § 64-101. It has been several times held by this court that a section of the Code, not of statutory origin, must be construed merely as a codification of the existing law, unless there be words in the section which manifestly demand a construction which would change the rule in force at the time the Code was adopted. Wilensky v. Central of Georgia Railway Co.,136 Ga. 889, 891 (72 S.E. 418, Ann. Cas. 1912d 271). To the same effect, see Bush v. McCarty, 127 Ga. 308, 310
(56 S.E. 430, 9 Ann. Cas. 240); Calhoun v. Little, 106 Ga. 336
(3) (32 S.E. 86, 43 L.R.A. 630, 71 Am. St. R. 254); Wright
v. DuBignon, 114 Ga. 765, 769 (40 S.E. 747, 57 L.R.A. 669); Seaboard Air-Line Railway Co. v. Leader, 115 Ga. 702,703 (42 S.E. 38); Davis v. First National Bank of Blakely,139 Ga. 702 (78 S.E. 190, 46 L.R.A. (N.S.) 750); Evans v.Brooke, 182 Ga. 197, 206 (184 S.E. 800).
It is generally held that the existence of another legal remedy will not bar mandamus, where it is not as full, complete, and adequate as that remedy would be. Hogansville Banking Co.
v. Hogansville, 156 Ga. 855 (4) (120 S.E. 604). Even if the plaintiff here might have sued the respondent for damages, such remedy would not have been as complete and adequate as the remedy of mandamus. Jurisdiction and venue could not very well be measured in terms of money, and so, in the very nature of the right asserted, an action for damages would not have been adequate. In this view, it is unnecessary to determine whether the rule as to the existence of another remedy would apply at all, where, as here, the duty is one that is specifically imposed by statute. Compare Gresham v. Pyron, 17 Ga. 263 (3);Mitchell v. Hay, 37 Ga. 581; Bailey v. Strohecker,38 Ga. 259 (95 Am. D. 388); Cheney v. Newton, 67 Ga. 477;Scott v. Bedell, 108 Ga. 205 (33 S.E. 903); Williams v.McArthur, 111 Ga. 28 (3) (36 S.E. 301); Southern Ry. Co.
v. Atlanta Stove Works, 128 Ga. 207 (57 S.E. 429); Dollar
v. Wind, 135 Ga. 760 (2) (70 S.E. 335); Douglas v.Austin-Western Road Machinery Co., 173 Ga. 834
(161 S.E. 811); City of Waycross v. Cullens, 190 Ga. 823
(10 S.E.2d 920); Speed Oil Co. v. Aldredge, 192 Ga. 285 (5) (15 S.E.2d 214). On the general subject, see Terrell v. GeorgiaRailroad  Banking *Page 511 Co., 115 Ga. 104 (41 S.E. 262); 13 Am. Jur. 438, § 371; 34 Am. Jur. 838-41, §§ 42-46; 38 C. J. 561-63, §§ 32-34.
7. In view of the recital in the bill of exceptions that it was agreed that the case should be decided on demurrer without further hearing upon said rule nisi," and the statement in the judge certificate that "after ample time was allowed the court proceeded to decide the case as was agreed by counsel for both sides," therein no merit in the contention that the judge erred in granting a mandamus absolute, after overruling the demurrer, without considering the answer and without further hearing. The foregoing deals with all of the questions raised by the plaintiff in error. The judgment was not erroneous for any reason urged.
Judgment affirmed. All the Justices concur.